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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
 CAROLYN STONE,                    §
      Plaintiff,                   §
                                   §
 vs.                               §         Civil Action No. 4:19-CV-00413
                                   §
 HARLEY MARINE SERVICES, INC.,     §
 HARLEY MARINE GULF, LLC,          §
 HARLEY CHANNELVIEW                §
 PROPERTIES, LLC,                  §                    JURY DEMANDED
                                   §
     Defendants.                   §


                                       CASE STATUS REPORT


       Plaintiff Carolyn Stone (“Plaintiff” or “Stone”) and Defendants Harley Marine Services,

Inc., Harley Marine Gulf, LLC, and Harley Channelview Properties, LLC (collectively,

“Defendants”) submit the following information pursuant to the Court’s Order to Report dated

May 11, 2021 (Doc. 52):

   1. Status of mediation: The Parties conducted mediation on April 28, 2021, with mediator

       Judge Mark Davidson. The case did not settle at mediation.

   2. Next steps to advance the litigation: The Parties intend to conduct discovery, which shall

       include requests for production, interrogatories, and requests for admissions.

          a. Defendants intend to conduct depositions of Plaintiff Carolyn Stone, Bobby Stone,

              Mike Murphy, and Boone Towing.

          b. Plaintiff intends to conduct depositions of one or more corporate representatives of

              the Defendants.

          c. The Parties may also need to depose additional individuals and/or entities based on

              the outcome of these depositions.
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   3. Joinder of additional parties must be completed by July 12, 2021.

   4. The Plaintiff and any other party seeking affirmative relief in the case shall designate any

      experts on or before July 29, 2021. Any rebuttal experts must be designated by August 30,

      2021.

   5. Challenges to expert designations shall be filed by September 30, 2021.

   6. All dispositive motions shall be filed by September 30, 2021.

   7. Case shall be set for trial after the court rules on dispositive motions or other pretrial

      requests for relief.

   8. The Parties anticipate that the pending matters can be tried in 3-5 days.


Dated: May 14, 2021.

                                            Respectfully submitted,

                                            By:     /s/ Amy Catherine Dinn (by permission)
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                                             HARLEY MARINE GULF, LLC


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                                             ATTORNEYS FOR DEFENDANT
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                                             LLC




                                  CERTIFICATE OF SERVICE

        I certify that on May 14, 2021 a copy of this Case Status Report was served on all counsel
of record through the CM/ECF E-File System.

                                                    /s/ Scot Clinton
                                                    Scot Clinton




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